This action is for the recovery of damages in the sum of three thousand dollars for the alleged conversion by the defendants of certain personal property, which it is claimed belonged to the plaintiff.
The appeal was erroneously taken directly to this court, inasmuch as the amount sued for is in excess of that to which the appellate jurisdiction of district courts of appeal is limited in actions at law. (Const. art. VI, sec. 4.)
Although the court below found that the property involved here was worth the sum of $724.50 only, still the test of the authority of this court to entertain appeals in actions at law is to be found in the ad damnum clause of the complaint, which, in this case, as seen, calls for damages in the sum of three thousand dollars for the alleged wrongful taking and the conversion of the property in dispute.
Therefore, the appeal in this cause is in the supreme court, to which tribunal it must be transferred.
So ordered.